     Case 6:20-cv-00178-ADA Document 108 Filed 08/24/21 Page 1 of 3




                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                               WACO DIVISION



Godo Kaisha IP Bridge 1

               Plaintiff,
                                                  Civil Action No. 6:20-cv-00178-ADA
v.
                                                  JURY TRIAL DEMANDED
Micron Technology, Inc.;
Micron Semiconductor Products, Inc.; and
Micron Technology Texas, LLC

               Defendants.


         ORDER REGARDING JUNE 22, 2021 DISCOVERY HEARING

       Pursuant to the Court’s June 17, 2021 Standing Order for Discovery Hearings in

Patent Cases, the parties respectfully submit this proposed order summarizing the nature

of the parties’ disputes, discussed during the June 22, 2021 hearing, and the parties’

understanding of the Court’s ruling on each dispute.

       Issue #1 (Micron’s mask pattern production):

       The parties disputed whether Micron should be compelled to produce information

relating to the mask patterns used to pattern and form the capacitors in Micron’s accused

products, as requested by IP Bridge’s Interrogatory No. 14.

       The Court ruled that Micron produce the requested information.

       Issue #2 (Micron’s license production):

       The parties disputed whether Micron should produce responsive license agreements

in addition to those “that are not cross licenses, do not cover more than 20 patents, do not
     Case 6:20-cv-00178-ADA Document 108 Filed 08/24/21 Page 2 of 3




relate to joint ventures or product or technology developments, relate to memory circuitry

or semiconductor processing, and are within the timeframe of 1995-present.”

       The Court ordered that Micron produce any inbound/outbound licenses over the

last 20 years that cover the accused features in Micron products.

       Issue #3 (IP Bridge’s production of Panasonic documents):

       The parties disputed whether IP Bridge should produce documents relating to or

stemming from Panasonic Corporation.

       The Court ruled that IP Bridge is not required to produce the requested documents.

       Issue #4 (IP Bridge’s privilege log):

       The parties disputed whether IP Bridge should produce additional responsive

documents over whose privilege designations the parties disagree.

       The Court ordered that the documents referenced in Micron’s motion be produced

to the Court for in camera review. The Court will rule on this dispute following the in

camera review.

       Issue #5 (IP Bridge deponents):

       The parties disputed whether IP Bridge should provide the depositions of (1)

Hiroaki Tanaka, a Board Member of IP Bridge, (2) Kazuya Kikuchi, an employee of IP

Bridge, and (3) Ai Takahashi, Hajime Ogawa, and Hideyuki Ogata. Alternatively, Micron

requested a continuance until Micron could obtain depositions of these individuals through

Japanese discovery channels, or an order for adverse inferences.

       The Court ruled that IP Bridge is not required to provide the requested depositions.




                                            2
     Case 6:20-cv-00178-ADA Document 108 Filed 08/24/21 Page 3 of 3




       Issue #6 (Micron Traveler documents):

       The parties disputed whether Micron should be compelled to produce “training

travelers” for all accused products with a “Restricted-Attorneys Eyes Only” designation,

and remedy IP Bridge for what IP Bridge believed to be misrepresentations regarding the

existence of the “training travelers” and obstruction of foundational questioning about the

security status of the training travelers during deposition.

       The Court ruled that Micron is not required to produce “training travelers,” nor is

any remedy necessary.



                                               ALAN D ALBRIGHT
                                               UNITED STATES DISTRICT JUDGE




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